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Thomas K. Coan, OSB #891732
Attorney at Law
1001 SW Fifth Avenue, Suite 1400
Portland, Oregon 97204
tom@tomcoan.com

Richard L. Wolf, OSB #873719
Attorney at Law
12940 NW Marina Way
Portland, OR 97231
(503) 384-0910
richardlwolf@att.net

Attorneys for Defendant Erickson


               IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF OREGON
UNITED STATES OF AMERICA,                )
                                         )    Case No. 3:18-cr-00319-MO-6
      Plaintiff,                         )
                                         )    DEFENDANT ERICKSON’S
      vs.                                )
                                         )    MOTION TO CONTINUE THE
                                         )    APRIL 13, 2020 TRIAL DATE AND
CHAD LEROY ERICKSON,                     )
                                         )    WAIVER OF SPEEDY TRIAL
      Defendant.                         )    RIGHTS



      COMES NOW Defendant, Chad Leroy Erickson, by and through his CJA-

appointed attorneys, Thomas K. Coan and Richard L. Wolf, and hereby moves this

court for an Order, continuing the present trial date of April 13, 2020 for a period

no less than 120 days to a date convenient to the court and the parties herein.



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2020 TRIAL DATE AND WAIVER OF SPEEDY TRIAL RIGHTS
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      I have discussed the proposed continuance with Defendant Erickson, who is

in custody. He agrees with the need for and consents to the requested continuance.

I have also advised Defendant Erickson of his rights under the Speedy trial Act. He

agrees that the period between the current and next scheduled trial date will be

excluded from any Speedy Trial Act calculations.

      The United States, by and through AUSA Leah Bolstad does not object to

this Motion provided it is granted as to all remaining defendants set for trial and

does not result in the severance of any defendant for trial.

      Codefendant Kenneth Hause, by and through counsel Todd Bofferding, does

not object to this Motion and has filed his own motion to continue the current trial

date. Codefendant Joseph Folkerts, by and through his counsel Andrew Kohlmetz,

does not object to this motion and has filed his own motion to continue the current

trial date. Codefendant Ryan Negrinelli, by and through his counsel Dianna Gentry,

does not object to this Motion. Codefendant Mark Dencklau, by and through his

counsel Lisa Ludwig, objects to this Motion.

      The grounds for this request are set out fully in the accompanying

Declaration of Counsel filed herewith ex parte and under seal. Despite diligent

efforts in preparing the case, the defense cannot be ready for trial as currently

scheduled.


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      This is Defendant Erickson’s first request for a continuance of trial in this

matter.

      Respectfully submitted this 24th day of January 2020.




                                       s/ Richard L. Wolf
                                      Richard L. Wolf, OSB #873719
                                      Attorney for Defendant Erickson




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2020 TRIAL DATE AND WAIVER OF SPEEDY TRIAL RIGHTS
